      Case 5:24-cv-00573-XR         Document 21        Filed 11/22/24      Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION
                                                                                         FILED
                                                                                  November 20, 2024
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
MARK ORTEGA, individually and on behalf                §                                        RR
                                                                               BY: ________________________________
of all others similarly situated,                      §                                               DEPUTY
                                                       §
                             Plaintiff,                §
vs.                                                    §            Case No. SA-24-CV-00573-XR
                                                       §
CORNERSTONE AUTO PROTECTION                            §
INC., CALL HANDLES, LLC,                               §
                                                       §
                             Defendants.               §



              PLAINTiFF'S MOTION FOR CLERK'S ENTRY OF DEFAULT

        Plaintiff, Mark Anthony Ortega ("Plaintiff"), requests that the Clerk of Court enter default

against Defendant Call Handles, LLC ("Call Handles"), pursuant to Federal Rule of Civil

Procedure 55(a). In support of this request, Plaintiff states the following:

                                            SUMMARY

         1.    The proof of service (ECF No. 10) demonstrates that Call Handles was properly

served with a copy of Plaintiffs Original Complaint (ECF No. 1) in this case on September 16,

2024.

        2.     More than twenty-one (21) days have elapsed since the date of service of process,

and Call Handles has failed to answer, challenge, or otherwise defend as required by Federal Rule

of Civil Procedure 12(a)(1)(A) and as demonstrated by the record in this action and by the

Declaration of Mark Ortega filed concurrently with his motion.

                                          BACKGROUND

         3.     On May 27, 2024, Plaintiff filed his Original Complaint (ECF No. 1) against Call

Handles in this suit seeking monetary relief for violations of the Telephone Consumer Protection
    Case 5:24-cv-00573-XR           Document 21         Filed 11/22/24       Page 2 of 7




Act ("TCPA"), 47 U.S.C. § 227 et seq., and the Texas Business and commercial code, chapter

302.

        4.      Plaintiff properly served call Handles with the complaint and Summons on

September 16, 2024 (ECF No. 10).

        5.      call Handles has not appeared in this action.

                              ARGUMENTS AND AUTHORITIES

        6.      The clerk of Court must enter a default against a party who has not filed a

responsive pleading or otherwise defended the suit. Fed. R. civ. P. 55(a); see N.Y Life Ins. Co. v.

Brown, 84 F.3d 137, 141 (5th cir. 1996).

        7.      The clerk should enter a default against Call Handles because it did not file a

responsive pleading within 21 days of service. Fed. R. Civ. P. 12(a)(1)(A)(i); Fed. R. Civ. P. 6(d);

see Fed. R. Civ. P. 5 5(a).


        8.      The Clerk should enter a default against Call Handles because it did not otherwise

defend the suit. Fed. R. Civ. P. 55(a).

        9.      Because Call Handles did not file a responsive pleading or otherwise defend the

suit, it is not entitled to notice of entry of default. See Fed. R. Civ, P. 5(a)(2); New York Life Ins.

Co. v. Brown, 84 F.3d 137, 14 1-42 (5th Cir. 1996).

        10.     Plaintiff is therefore, entitled to entry of default against Call Handles because it

has failed to file an answer to the Original Complaint or any other responsive pleadings. This

entry of default is authorized by Rule 55 of the Federal Rules of Civil Procedure.

                                               PRAYER

        For the foregoing reasons, Plaintiffs respectfully request the Clerk of Court to enter a

default against Defendant Call Handles in this matter.
   Case 5:24-cv-00573-XR   Document 21   Filed 11/22/24     Page 3 of 7




Dated: November 18, 2024                 Respectfully submitted,

                                         Mark Anthony Ortega




                                         mortegautexas.edu
                                         152 Bedingfeld Dr
                                         San Antonio, TX 78231
                                         Telephone: (210) 744-9663
      Case 5:24-cv-00573-XR         Document 21       Filed 11/22/24      Page 4 of 7



                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MARK ORTEGA, individually and on behalf               §
of all others similarly situated,                     §
                                                      §
                             Plaintiff,               §
vs.                                                   §            Case No. SA-24-CV-00573-XR
                                                      §
CORNERSTONE AUTO PROTECTION                           §
INC., CALL HANDLES, LLC,                              §
                                                      §
                             Defendants.              §



            DECLARATION IN SUPPORT OF CLERK'S ENTRY OF DEFAULT

        I hereby certify that I, Mark Ortega, am the Plaintiff in the above cause, and that Defendant

Call Handles, LLC ("Defendant") was served on September 16, 2024 as evidenced by the Proof

of Service. (ECF No. 10)

        I further certify that the Defendant has failed to serve an answer or other responsive

pleading; the Defendant is neither an infant (under age 21) nor an incompetent person; the

Defendant is not in the active military service of the United States of America or its officers or

agents or was not six months prior to the filing of the case. Therefore, the Clerk is requested to

enter a default against said Defendant.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
   Case 5:24-cv-00573-XR   Document 21   Filed 11/22/24      Page 5 of 7




Date: November 18, 2024

                                         Mark Ortega
                                         Plaintiff, P o Se


                                         By:J
                                         mortegautexas.edu
                                         152 Bedingfeld Dr
                                         San Antonio, TX 78231
                                         Telephone: (210) 744-9663
      Case 5:24-cv-00573-XR       Document 21       Filed 11/22/24        Page 6 of 7




                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


MARK ORTEGA, individually and on behalf            §
of all others similarly situated,                  §
                                                   §
                           Plaintiff,              §
vs.                                                §             Case No. SA-24-CV-00573-XR
                                                   §
CORNERSTONE AUTO PROTECTION                        §
INC., CALL HANDLES, LLC,                           §
                                                   §
                           Defendants.             §



                              CLERK'S ENTRY OF DEFAULT

        The Plaintiff, Mark Ortega, having filed a Complaint (ECF No. 1) on May 27, 2024 and

the Defendant Call Handles, LLC having failed to plead or otherwise defend as required by the

Federal Rules of Civil Procedure, and the time for responding having expired;

        IT IS ORDERED, that the Clerk enter the default of the Defendant, Call Handles, LLC.



                                                   By:
                                                         Clerk of Court
                                                                        Case 5:24-cv-00573-XR
                                                                        Document 21




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